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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                                JUDGE R. BROOKE JACKSON

Civil Action:         21-cr-00229-RBJ                     Date: April 5, 2022
Courtroom Deputy:     Julie Dynes                         Court Reporter: Terri Lindblom
Interpreter:          N/A                                 Probation: N/A

                Parties                                               Counsel

 UNITED STATES OF AMERICA                                         Sara Clingan
                                                                  Megan Lewis
                                                                 Anthony Mariano
                                                                  William Vigen
                          Plaintiff

 v.

 1. DAVITA INC                                                     John Dodds
                                                                    John Walsh
 2. KENT THIRY                                                    Juanita Brooks
                                                                Thomas Melsheimer
                                                                   Jeffrey Stone
                          Defendants


                                      COURTROOM MINUTES


JURY TRIAL DAY TWO

Court in Session: 9:00 a.m.

Appearance of counsel. Also present at counsel table is F.B.I. Special Agent Matthew Hamel.

Defendant Kent Thiry present on bond. Kathleen Waters present as representative of Defendant
DaVita, Inc.

Jury not present.

Argument given on additional preliminary jury instruction based on opening statements.

9:11 a.m.      Court in recess.
9:20 a.m.      Court in session – jury escorted in.
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Government’s witness, Dennis Kogod, called and sworn.

9:22 a.m.     Direct examination of Mr. Kogod by Ms. Clingan.
              Exhibits 32, 42, 164, 174, 202, 212, 257, 280, 284, 313, 314, 315, 333, 595 and
              596 are admitted.

10:53 a.m.    Court in recess – jury escorted out.
11:08 a.m.    Court in session – jury escorted in.

11:10 a.m.    Continued direct examination of Mr. Kogod by Ms. Clingan.
              Exhibits 152, 217, 255, 279, 312 and 336 are admitted.

11:30 a.m.    Cross examination of Mr. Kogod by Ms. Brooks.
              Exhibits B534, B535 and B537 are admitted

12:03 p.m.    Court in recess – jury escorted out.
1:06 p.m.     Court in session – jury escorted in.

1:15 p.m.     Continued cross examination of Mr. Kogod by Ms. Brooks.
              Exhibits 151, A022, A023, A775, A779 and B477 are admitted.

2:13 p.m.     Redirect examination of Ms. Kogod by Ms. Clingan.
              Exhibit 321 is admitted.

2:24 p.m.     Court in recess – jury escorted out.
2:41 p.m.     Court in session - jury escorted in.

Government’s witness, Dr. Bridget Fanning, called and sworn.

2:43 p.m.     Direct examination of Dr. Fanning by Ms. Lewis.
              Exhibits 47-1, 48-1, 49, 51, 52, 53-1, 60-1, 65, 67-3, 70-1, 81, 82-1, 83, 98, 100,
              101, 102, 104, 105, 106, 107, 108, 109, 278, 344 and 345 are admitted.

4:23 p.m.     Cross examination of Dr. Fanning by Mr. Melsheimer.

Jury excused, to return tomorrow at 9:00 a.m.

Discussion held on agreements and definition of the market.

Court in Recess: 4:49 p.m.           Trial continued.              Total time in Court: 06:05
